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       UNITED STATES OF          AMERI~       JUN 21 p t:
                                                          45
                                           JON W. SANFlUPPO
                                       Plaintiff,   CLERK                           16 -·CR-095
                                                                    Case No.
                                                                    [21 U.S.C. §§ 84l(a)(l) and 846]
                                v.                                  Green Bay Division

       CHARLES R. SZYMAN,
                                                                    INDICTMENT
                                       Defendant.


             THE GRAND JURY CHARGES:

                                       Allegations Common to all Counts

              1.       At all times relevant to this indictment:

                       a.       The defendant, Charles R. Szyman ("Szyman"), was a doctor of osteopathic

                       medicine licensed to practice in the State of Wisconsin.

                       b.       Szyman also possessed a registration with the United States Drug

                       Enforcement Administration ("DEA") that authorized him to prescribe, administer,

                       dispense, and distribute controlled substances, including the following:

                                1.     Oxycodone, a Schedule II controlled substance;

                                n.     Amphetamine, a Schedule II controlled substance;

                                111.   Hydrocodone with acetaminophen, a Schedule II controlled

                                substance as of October 6, 2014;

                                1v.    Hydromorphone, a Schedule II controlled substance;

                                v.     Fentanyl, a Schedule II controlled substance; and

                                v1.    Methadone, a Schedule II controlled substance.




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                       c.       As a DEA registrant, Szyman was permitted to issue prescriptions,

                       administer, dispense, and distribute controlled substances only for a legitimate

                       medical purpose within the scope of his professional practice.

                       d.       The term "dispense" includes issuing a prescription for a controlled

                       substance.




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                                              COUNTS ONE- NINETEEN

                THE GRAND JURY FURTHER CHARGES:

                2.          On or about the dates listed below, in the state and Eastern District of Wisconsin,

                                                CHARLES R. SZYMAN

         knowingly and intentionally distributed and dispensed unlawfully, and attempted to distribute and

         dispense unlawfully, a controlled substance outside of his professional practice and not for a

         legitimate medical purpose.

                3.          Szyman issued prescriptions in the name of an individual, who is identified in this

         indictment by an alias, for the indicated prescription drugs containing the indicated controlled

         substances outside of Szyman's professional practice and not for a legitimate medical purpose.


                                         Name on                                                           Controlled
 Count               Date               prescription                  Prescription dru2:(s)               substance(s)
                                                                 One prescription for 90 Percocet
   1       November 21,2013           "Richard Russo"                                                     Oxycodone
                                                                        (5/325mg) tablets
                                                          Two prescriptions, each for 120 Percocet
   2        February 5, 2014          "Richard Russo"                                                     Oxycodone
                                                                    (10/325mg) tablets
                                                              Three prescriptions, each for 90
   3         April16, 2014            "Richard Russo"       Oxycodone Immediate Release ("IR")            Oxycodone
                                                                        30mg tablets
                                                         Two prescriptions, each for 90 Oxycodone
   4          June 13, 2014           "Richard Russo"                                                     Oxycodone
                                                           Immediate Release ("IR") 30mg tablets
                                                              Three prescriptions, each for 90
   5       September 10, 2014         "Richard Russo"       Oxycodone Immediate Release ("IR")            Oxycodone
                                                                        30mg tablets
                                                             One prescription for 90 Oxycodone
   6       November 21, 2014         "Anna Kingston"                                                      Oxycodone
                                                           Immediate Release ("IR") 30mg tablets
                                                             One prescription for 90 Oxycodone
   7       December 11, 2014         "Anna Kingston"                                                      Oxycodone
                                                           Immediate Release ("IR") 30mgtablets
                                                             One prescription for 90 Oxycodone
   8         January 7, 2015         "Anna Kingston"                                                      Oxycodone
                                                           Immediate Release ("IR") 30mgtablets
                                                         Two prescriptions, each for 90 Oxycodone
   9        February 18, 2015        "Anna Kingston"                                                      Oxycodone
                                                           Immediate Release ("IR") 30mg tablets

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                               Name on                                                      Controlled
 Count         Date           urescriution                 Prescription drue:(s)           substance(s)
                                             Prescriptions for a total of 600 Oxycodone
                                                           30mg IR tablets, 480
                                               Oxycodone-Acetaminophen (1 0-325mg)
   10       May4, 2012         "Patient A"                                                  Oxycodone
                                              tablets, 180 OxyContin 20mg tablets, 120
                                                    OxyContin 40mg tablets, and 180
                                                         OxyContin 80mg tablets
                                                     Four prescriptions, each for 420
   11     October 8, 2013      "Patient B"                                                  Oxycodone
                                                         Oxycodone 30mg tablets
                                             Prescriptions for a total of 540 Oxycodone
   12     January 8, 2014      "Patient C"    HCL 30 mg tablets, 240 OxyContin 40mg         Oxycodone
                                             tablets, and 1,800 O~Contin 80m_g_ tablets
                                             ·Prescriptions for a total of 240 Morphine
   13      May 15,2014         "Patient D"         sulfate ER 1OOmg tablets, and 240        Morphine
                                                    Morphine sulfate ER 30mg tablets
                                                Prescriptions for a total of 30 Fentanyl
                                              patches, 360 Morphine sulfate ER 60 mg
                                                  tablets, 900 Morphine sulfate 1OOmg        Fentanyl
   14      June 23, 2014       "Patient E"       tablets, 1,000 Oxycodone HCL 15mg          Morphine
                                             tablets, 720 Oxycodone 30mg tablets, 450       Oxycodone
                                                   Oxycodone, 60mg tablets, and 450
                                                         Oxycodone 80mg tablets
                                             Prescriptions for a total of 1,200 Morphine
                                                sulfate 200mg tablets, 1,080 Morphine       Morphine
   15    November 13, 2014     "Patient F"   sulfate 30mg IR tablets, 60 Adderall 20 mg    Amphetamine
                                                   tablets, and 270 Hydrocodone with       Hydrocodone
                                                    acetaminophen 10-325m_g tablets
                                              Prescriptions for a total of 120 Morphine
                                               sulfate ER 200mg tablets, 120 Morphine
                                               sulfate ER 1OOmg tablets, 180 Morphine       Morphine
   16     January 13, 2015     "Patient G"             sulfate IR 15mg tablets, 480        Hydrocodone
                                                      Hydrocodone-Acetaminophen             Oxycodone
                                              (7.5-325mg) tablets, and 120 Oxycodone
                                                            HCL 30mg tablets
                                             Prescriptions for a total of 480 Methadone
                                                                                            Methadone
                                              HCL 1Omg tablets, 400 Morphine sulfate
                                                                                            Morphine
   17    February 10, 2015     "Patient H"      IR lOmg tablets, 60 OxyContin 40mg
                                                                                            Oxycodone
                                             tablets, 180 Oxycontin 60mg tablets, 1,080
                                                         OxyContin 80mg tablets




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                                  Name on                                                         Controlled
 Count          Date             nrescriotion                 Prescrill_tion dru_j!(£}           substance(s)
                                                    Prescriptions for a total of 150 Fentanyl
                                                        patches (various strengths), 360           Fentanyl
                                                       Hydromorphone 8mg tablets, 180           Hydromorphone
   18     February 11, 2015       "Patient I"
                                                  Oxycodone 20mg tablets, 360 Oxycodone           Oxycodone
                                                    30mg tablets, and 90 OxyContin 80mg
                                                                      tablets
                                                  Prescriptions for a total of 480 Oxycodone
   19     February 16, 2015       "Patient J"     HCL 15mg tablets, 120 OxyContin 40mg           Oxycodone
                                                   tablets, and 240 OxyContin 60mg tablets

              Each in violation ofTitle 21, United States Code, Sections 841(a)(1) and 846.

                                                                 A TRUE BILL:




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  f ~   1:JREGORY J. HAANSTAD
        United States Attorney




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